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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE


UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )
                                               )
        V.                                     )       Crim. Action. No. 15-23-RGA
                                               )
DAVID R. GIBSON,                               )
ROBERT V. A. HARRA,                            )
WILLIAM NORTH, and                             )
KEVYN RAKOWSKI,                                )
                                               )
                       Defendants.             )



                                ORDER ON PSR OBJECTIONS

        The Harra presentence investigation report has been filed. (D.I. 883; see also D.I. 884).

Defendant makes various objections. I resolve the objections as follows.

        The first objection is that paragraph 31 does not include certain language from the

promissory notes. I overrule the objection because the language from the promissory notes is

irrelevant.

        The second objection is that paragraph 33 states too broadly how the Bank was supposed

to renew matured loans, and problems associated with doing so in 2009. I overrule the objection

as I believe the trial record supports the relevant statements.

        The third objection is to the reference in paragraph 37 to SHAW as an internal

accounting system that considered matured loans to be past due. Since I think that is an accurate

statement about SHAW, I overrule the objection. I do not interpret the statement as meaning that

SHAW was the arbiter of what was, or was not, a past due loan under the law.



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       The fourth objection is that the description in paragraph 45 of Harra's responsibilities

should be modified. I overrule that objection since the description is the Bank's own

characterization of Harra's responsibilities.

       The fifth objection is to paragraph 70's reference that Defendants "never informed"

Federal Reserve Examiners about the Waiver Practice, the mass-extension process, or the Bank's

pool of matured and maturing loans. I think a better characterization (consistent with how I have

previously described it) is that Defendants "never directly informed" the examiners, etc. Thus, I

sustain the objection and order that the word "directly" be added.

       The sixth objection was to the PSR's characterization (by way of a heading) of certain

information relating to the merger with M&T. The presentence officer has changed the heading,

and the objection is now moot.

       IT IS SO ORDERED this       f/_ day of December 2018.




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